 Case 21-21145-JAD                     Doc 34 Filed 06/23/21 Entered 06/24/21 00:38:17                                     Desc Imaged
                                            Certificate of Notice Page 1 of 7
Information to identify the case:
Debtor 1              Gary J. Griser                                                    Social Security number or ITIN           xxx−xx−7175
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Maria F. Griser                                                   Social Security number or ITIN           xxx−xx−7047
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            WESTERN DISTRICT OF                           Date case filed in chapter 13                5/7/21
PENNSYLVANIA
                                                                                        Date case converted to chapter 7            6/21/21
Case number:          21−21145−JAD


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                        10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Gary J. Griser                                      Maria F. Griser

2.      All other names used in the                                                                  aka Mary F. Betzig Griser
        last 8 years

3.     Address                               119 N. Hitchman Street                                  119 N. Hitchman Street
                                             Mount Pleasant, PA 15666                                Mount Pleasant, PA 15666

4.     Debtor's attorney                     Lawrence W. Willis                                     Contact phone 412−235−1721
                                             Willis & Associates
       Name and address                      201 Penn Center Blvd                                   Email: ecf@westernpabankruptcy.com
                                             Suite 310
                                             Pittsburgh, PA 15235

5.     Bankruptcy trustee                    Charles O. Zebley Jr.                                  Contact phone 724−439−9200
                                             P.O. Box 2124
       Name and address                      Uniontown, PA 15401                                    Email: COZ@Zeblaw.com
                                                                                                               For more information, see page 2 >
Official Form 309B (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                   page 1
     Case 21-21145-JAD                        Doc 34 Filed 06/23/21 Entered 06/24/21 00:38:17                                               Desc Imaged
                                                   Certificate of Notice Page 2 of 7
Debtor Gary J. Griser and Maria F. Griser                                                                                       Case number 21−21145−JAD

6. Bankruptcy clerk's office                  U.S. Bankruptcy Court                                            Hours open:
                                              5414 U.S. Steel Tower                                            Mon. − Fri. Pittsburgh Office: 9:00a.m. −
     Documents in this case may be            600 Grant Street                                                 4:30p.m. Erie Office: 9:00a.m. − 4:30p.m.
     filed at this address. You may           Pittsburgh, PA 15219
     inspect all records filed in this case
     at this office or online                                                                                  Contact phone 412−644−2700
     at https://pacer.uscourts.gov.
                                                                                                               Date: 6/21/21
7. Meeting of creditors                       August 20, 2021 at 09:00 AM                                              Location:

     Debtors must attend the meeting to       The meeting may be continued or adjourned to a later                     341 Meeting will be conducted by
     be questioned under oath. In a joint     date. If so, the date will be on the court docket.                       phone, please consult the docket
     case, both spouses must attend.
     Creditors may attend, but are not                                                                                 or, case trustee for call
     required to do so.                                                                                                information.
8.                       Presumption of abuse                                        The presumption of abuse does not arise.

                         If the presumption of abuse arises, you may have the
                         right to file a motion to dismiss the case under 11
                         U.S.C. § 707(b). Debtors may rebut the presumption
                         by showing special circumstances.

9. Deadlines                                  File by the deadline to object to discharge or to                         Filing deadline: 10/19/21
                                              challenge whether certain debts are dischargeable:
     The bankruptcy clerk's office must
     receive these documents and any
     required filing fee by the following     You must file a complaint:
     deadlines.
                                              • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                              • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4) or (6).

                                              You must file a motion:
                                              • if you assert that the discharge should be denied under § 727(a)(8) or (9).

                                              Deadline for all creditors to file a proof of claim                       Filing deadline: 8/30/21
                                              (except governmental units):
                                              Deadline for governmental units to file a proof of                        Filing deadline: ___________
                                              claim:

                                              Deadlines for filing proof of claim:
                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                              at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                              not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                              that the debtor filed.
                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                              claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                              example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                              right to a jury trial.


                                              Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                              The law permits debtors to keep certain property as exempt. If you        conclusion of the meeting of creditors
                                              believe that the law does not authorize an exemption claimed, you
                                              may file an objection.

10. Creditors with a foreign                   If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                    asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                               United States bankruptcy law if you have any questions about your rights in this case.
11. Liquidation of the debtor's                The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    property and payment of                    property that is not exempt. If the trustee can collect enough money, creditors may be paid
    creditors' claims                          some or all of the debts owed to them in the order specified by the Bankruptcy Code. To
                                               ensure you receive any share of that money, you must file a proof of claim as described
                                               above.
12. Exempt property                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                               sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                               may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                               you believe that the law does not authorize an exemption that the debtors claim, you may
                                               file an objection. The bankruptcy clerk's office must receive the objection by the deadline to
                                               object to exemptions in line 9.
Official Form 309B (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                      page 2
      Case 21-21145-JAD                     Doc 34 Filed 06/23/21 Entered 06/24/21 00:38:17                                              Desc Imaged
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                                                              United States Bankruptcy Court
                                                              Western District of Pennsylvania
In re:                                                                                                                 Case No. 21-21145-JAD
Gary J. Griser                                                                                                         Chapter 7
Maria F. Griser
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0315-2                                                  User: nsha                                                                  Page 1 of 5
Date Rcvd: Jun 21, 2021                                               Form ID: 309B                                                             Total Noticed: 74
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 23, 2021:
Recip ID                   Recipient Name and Address
db/jdb                 +   Gary J. Griser, Maria F. Griser, 119 N. Hitchman Street, Mount Pleasant, PA 15666-1503
aty                    +   Jennifer L. Cerce, Maiello Brungo & Maiello, Southside Works, 424 S. 27th Street, Ste 210, Pittsburgh, PA 15203-2380
aty                    +   Maria Miksich, KML Law Group, P.C., 701 Market Street, Suite 5000, Philadelphia, PA 19106-1541
tr                     +   Charles O. Zebley, Jr., P.O. Box 2124, Uniontown, PA 15401-1724
15373382               +   Aaa Debt Rec, Pob 129, Monroeville, PA 15146-0129
15373387               +   Ccs/first National Ban, 500 East 60th St North, Sioux Falls, SD 57104-0478
15373393                   Community Bank, Rj Sommers Operations Center, Waynesburg, PA 15370
15373397                   Credit Protection Asso, One Galleria Tower, Dallas, TX 75240
15373401              +    Eos Cca, Po Box 981008, Boston, MA 02298-1008
15373402              +    F N B Cons Disc Co, 6291 State Route 30, Greensburg, PA 15601-7597
15373388             ++    FIRST SAVINGS BANK, PO BOX 5096, SIOUX FALLS SD 57117-5096 address filed with court:, Ccs/first Savings Bank, 500 East 60th
                           St North, Sioux Falls, SD 57104
15373411               +   Kashable Llc, 275 Madison Ave, New York, NY 10016-1101
15373413               +   Mariner Finance, 8211 Town Center Dr, Nottingham, MD 21236-5904
15382997               +   Norwin School District, c/o Maiello Brungo & Maiello, 100 Purity Road, Suite 3, Pittsburgh, PA 15235-4441
15386739               +   Norwin School District, c/o Maiello Brungo & Maielloo, LLP, 100 Purity Road, Suite 3, Pittsburgh, PA 15235-4441
15373417               +   PA Department Of Revenue, Bankruptcy Division, PO Box 788, Harrisburg, PA 17108-0788
15373420               +   Pennymac Loan Services, Po Box 514387, Los Angeles, CA 90051-4387
15373422               +   Plaza Home Mtg/dovenmu, 1 Corporate Dr, Lake Zurich, IL 60047-8944
15373425               +   Somerset Trust Company, 151 W Main Street, Somerset, PA 15501-2068
15373430               +   Tbom/contfin, 4550 New Linden Hill Rd, Wilmington, DE 19808-2930
15373431                   Tbom/tfc, Po Box 13306, Virginia Beach, VA 23464
15373432                   Thinkcashfbd, Brandywine Commons Ii, Wilmington, DE 19803
15373433               +   United Auto Credit Co, 3990 Westerley Place, Newport Beach, CA 92660-2310
15373434                   Usa Credit, Customer Service, Uniontown, PA 15401

TOTAL: 24

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: ecf@westernpabankruptcy.com
                                                                                        Jun 21 2021 23:48:08      Lawrence W. Willis, Willis & Associates, 201
                                                                                                                  Penn Center Blvd, Suite 310, Pittsburgh, PA
                                                                                                                  15235
smg                        EDI: PENNDEPTREV
                                                                                        Jun 22 2021 03:33:00      Pennsylvania Dept. of Revenue, Department
                                                                                                                  280946, P.O. Box 280946, ATTN:
                                                                                                                  BANKRUPTCY DIVISION, Harrisburg, PA
                                                                                                                  17128-0946
smg                        Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Jun 21 2021 23:49:00      Pennsylvania Dept. of Revenue, Department
                                                                                                                  280946, P.O. Box 280946, ATTN:
                                                                                                                  BANKRUPTCY DIVISION, Harrisburg, PA
                                                                                                                  17128-0946
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District/off: 0315-2                                            User: nsha                                                       Page 2 of 5
Date Rcvd: Jun 21, 2021                                         Form ID: 309B                                                  Total Noticed: 74
ust              + Email/Text: ustpregion03.pi.ecf@usdoj.gov
                                                                           Jun 21 2021 23:49:00   Office of the United States Trustee, Liberty
                                                                                                  Center., 1001 Liberty Avenue, Suite 970,
                                                                                                  Pittsburgh, PA 15222-3721
cr               + EDI: RECOVERYCORP.COM
                                                                           Jun 22 2021 03:33:00   PRA Receivables Management, LLC, PO Box
                                                                                                  41021, Norfolk, VA 23541-1021
15373383         + Email/Text: backoffice@affirm.com
                                                                           Jun 21 2021 23:50:00   Affirm Inc, 650 California St Fl 12, San Francisco,
                                                                                                  CA 94108-2716
15373384         + Email/Text: bk@avant.com
                                                                           Jun 21 2021 23:49:00   Avant, 222 N. Lasalle St, Chicago, IL 60601-1003
15373385           EDI: CAPITALONE.COM
                                                                           Jun 22 2021 03:33:00   Capital One Bank Usa N, 15000 Capital One Dr,
                                                                                                  Richmond, VA 23238
15378397           EDI: CAPITALONE.COM
                                                                           Jun 22 2021 03:33:00   Capital One Bank (USA), N.A., by American
                                                                                                  InfoSource as agent, PO Box 71083, Charlotte, NC
                                                                                                  28272-1083
15374968         + Email/Text: bankruptcy@cavps.com
                                                                           Jun 21 2021 23:49:00   Cavalry SPV I, LLC, 500 Summit Lake Drive, Ste
                                                                                                  400, Valhalla, NY 10595-2321
15373386         + EDI: PHINGENESIS
                                                                           Jun 22 2021 03:33:00   Cb Indigo/gf, Po Box 4499, Beaverton, OR
                                                                                                  97076-4499
15373389         + Email/Text: bankruptcy@clearviewfcu.org
                                                                           Jun 21 2021 23:49:00   Clearview Federal Cu, 8805 University Blvd,
                                                                                                  Coraopolis, PA 15108-4212
15373390         + Email/Text: jstiller@clevelandbrothers.com
                                                                           Jun 21 2021 23:49:00   Cleveland Brother, 4565 William Penn Highway,
                                                                                                  Murrysville, PA 15668-2016
15373391         + EDI: WFNNB.COM
                                                                           Jun 22 2021 03:33:00   Comenity Bank/gnteagle, Po Box 182789,
                                                                                                  Columbus, OH 43218-2789
15373392         + EDI: WFNNB.COM
                                                                           Jun 22 2021 03:33:00   Comenitybank/victoria, Po Box 182789,
                                                                                                  Columbus, OH 43218-2789
15373394         + EDI: CCUSA.COM
                                                                           Jun 22 2021 03:33:00   Credit Coll/usa, 16 Distributor Dr Ste 1,
                                                                                                  Morgantown, WV 26501-7209
15373395         + EDI: CCS.COM
                                                                           Jun 22 2021 03:33:00   Credit Collection Serv, Po Box 607, Norwood,
                                                                                                  MA 02062-0607
15373396         + Email/PDF: creditonebknotifications@resurgent.com
                                                                           Jun 22 2021 11:26:04   Credit One Bank Na, Po Box 98875, Las Vegas,
                                                                                                  NV 89193-8875
15373398         + Email/Text: electronicbkydocs@nelnet.net
                                                                           Jun 21 2021 23:49:00   Dept Of Education/neln, Po Box 82561, Lincoln,
                                                                                                  NE 68501-2561
15373399         + EDI: DISCOVER.COM
                                                                           Jun 22 2021 03:33:00   Discover Fin Svcs Llc, Pob 15316, Wilmington,
                                                                                                  DE 19850-5316
15373400         + Email/Text: bknotice@ercbpo.com
                                                                           Jun 21 2021 23:49:00   Enhanced Recovery Co L, 8014 Bayberry Rd,
                                                                                                  Jacksonville, FL 32256-7412
15373403         + Email/Text: bankruptcy@cagcorp.com
                                                                           Jun 21 2021 23:49:00   Fairville, 4 Hillman, Chadds Ford, PA 19317-9781
15373404         + EDI: AMINFOFP.COM
                                                                           Jun 22 2021 03:33:00   First Premier Bank, 3820 N Louise Ave, Sioux
                                                                                                  Falls, SD 57107-0145
15373405         + EDI: IIC9.COM
                                                                           Jun 22 2021 03:33:00   I.c. System, Inc, Po Box 64378, Saint Paul, MN
                                                                                                  55164-0378
15373407           EDI: IRS.COM
                                                                           Jun 22 2021 03:33:00   Internal Revenue Service, Insolvency Unit, PO
                                                                                                  Box 628, Pittsburgh, PA 15230
15373409           EDI: JEFFERSONCAP.COM
                                                                           Jun 22 2021 03:33:00   Jefferson Capital Syst, 16 Mcleland Rd, Saint
                                                                                                  Cloud, MN 56303
15373410           EDI: JPMORGANCHASE
                                                                           Jun 22 2021 03:33:00   Jpmcb Card, Po Box 15369, Wilmington, DE
                                                                                                  19850
15373412           Email/Text: ktramble@lendmarkfinancial.com
                                                                           Jun 21 2021 23:48:00   Lendmark Financial Ser, 2118 Usher St.,
                                                                                                  Covington, GA 30014
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Date Rcvd: Jun 21, 2021                                       Form ID: 309B                                                  Total Noticed: 74
15386699           Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                         Jun 22 2021 00:35:02   MERRICK BANK, Resurgent Capital Services,
                                                                                                PO Box 10368, Greenville, SC 29603-0368
15373414         + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                         Jun 22 2021 00:35:02   Merrick Bank Corp, Po Box 9201, Old Bethpage,
                                                                                                NY 11804-9001
15373415         + Email/Text: bankruptcy@moneylion.com
                                                                         Jun 21 2021 23:49:39   Moneylion Inc, Po Box 1547, Sandy, UT
                                                                                                84091-1547
15375476         + EDI: AGFINANCE.COM
                                                                         Jun 22 2021 03:33:00   OneMain Financial, PO Box 3251, Evansville, IN
                                                                                                47731-3251
15373416         + EDI: AGFINANCE.COM
                                                                         Jun 22 2021 03:33:00   Onemain, Po Box 1010, Evansville, IN
                                                                                                47706-1010
15373418           EDI: PENNDEPTREV
                                                                         Jun 22 2021 03:33:00   PA Department of Revenue, Bankruptcy Division,
                                                                                                PO Box 280946, Harrisburg, PA 17128-0496
15373418           Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                         Jun 21 2021 23:49:00   PA Department of Revenue, Bankruptcy Division,
                                                                                                PO Box 280946, Harrisburg, PA 17128-0496
15375594           EDI: PENNDEPTREV
                                                                         Jun 22 2021 03:33:00   Pennsylvania Department of Revenue, Bankruptcy
                                                                                                Division PO Box 280946, Harrisburg, PA
                                                                                                17128-0946
15375594           Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                         Jun 21 2021 23:49:00   Pennsylvania Department of Revenue, Bankruptcy
                                                                                                Division PO Box 280946, Harrisburg, PA
                                                                                                17128-0946
15373421           Email/Text: bankruptcypgl@plaingreenloans.com
                                                                         Jun 21 2021 23:49:00   Plain Green, 93 Mack Road Suite 600, Box Elder,
                                                                                                MT 59521
15385637         + EDI: JEFFERSONCAP.COM
                                                                         Jun 22 2021 03:33:00   Premier Bankcard, LLC, Jefferson Capital Systems
                                                                                                LLC Assignee, Po Box 7999, Saint Cloud MN
                                                                                                56302-7999
15386747         + EDI: Q3G.COM
                                                                         Jun 22 2021 03:33:00   Quantum3, PO Box 788, Kirkland, WA
                                                                                                98083-0788
15377118           EDI: Q3G.COM
                                                                         Jun 22 2021 03:33:00   Quantum3 Group LLC as agent for, Sadino
                                                                                                Funding LLC, PO Box 788, Kirkland, WA
                                                                                                98083-0788
15377119           EDI: Q3G.COM
                                                                         Jun 22 2021 03:33:00   Quantum3 Group LLC as agent for, Genesis FS
                                                                                                Card Services Inc, PO Box 788, Kirkland, WA
                                                                                                98083-0788
15377057           EDI: Q3G.COM
                                                                         Jun 22 2021 03:33:00   Quantum3 Group LLC as agent for, MOMA Trust
                                                                                                LLC, PO Box 788, Kirkland, WA 98083-0788
15373426           EDI: AGFINANCE.COM
                                                                         Jun 22 2021 03:33:00   Springleaf Financial S, 150 Pittsburgh St Ste 22b,
                                                                                                Uniontown, PA 15401
15373423         + EDI: DRIV.COM
                                                                         Jun 22 2021 03:33:00   Santander Consumer Usa, Po Box 961245, Ft
                                                                                                Worth, TX 76161-0244
15373424         + EDI: CITICORP.COM
                                                                         Jun 22 2021 03:33:00   Sears/cbna, Po Box 6217, Sioux Falls, SD
                                                                                                57117-6217
15373427         + EDI: RMSC.COM
                                                                         Jun 22 2021 03:33:00   Syncb/amazon, Po Box 965015, Orlando, FL
                                                                                                32896-5015
15373428         + EDI: RMSC.COM
                                                                         Jun 22 2021 03:33:00   Syncb/ppmc, Po Box 965005, Orlando, FL
                                                                                                32896-5005
15373429         + EDI: RMSC.COM
                                                                         Jun 22 2021 03:33:00   Syncb/walmart, Po Box 965024, Orlando, FL
                                                                                                32896-5024
15373750         + EDI: RMSC.COM
                                                                         Jun 22 2021 03:33:00   Synchrony Bank, c/o of PRA Receivables
                                                                                                Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                23541-1021
15375284         + Email/Text: electronicbkydocs@nelnet.net
                                                                         Jun 21 2021 23:49:00   U.S. Department of Education c/o Nelnet, 121 S
                                                                                                13th St, Suite 201, Lincoln, NE 68508-1911
15373435         + EDI: BLUESTEM
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District/off: 0315-2                                              User: nsha                                                              Page 4 of 5
Date Rcvd: Jun 21, 2021                                           Form ID: 309B                                                         Total Noticed: 74
                                                                                   Jun 22 2021 03:33:00     Webbank/fingerhut, 6250 Ridgewood Road, Saint
                                                                                                            Cloud, MN 56303-0820
15373436              + Email/Text: bankruptcynotice@westlakefinancial.com
                                                                                   Jun 21 2021 23:49:00     Westlake Financial Svc, 4751 Wilshire Bvld, Los
                                                                                                            Angeles, CA 90010-3847

TOTAL: 53


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr                            PENNYMAC LOAN SERVICES, LLC
smg             *             Pennsylvania Department of Revenue, Bankruptcy Division, P.O. Box 280946, Harrisburg, PA 17128-0946
cr              *+            Norwin School District, c/o Maiello Brungo & Maiello, LLP, 100 Purity Road, Suite 3, Pittsburgh, PA 15235-4441
15386705        *+            Aaa Debt Rec, Pob 129, Monroeville, PA 15146-0129
15386706        *+            Affirm Inc, 650 California St Fl 12, San Francisco, CA 94108-2716
15386707        *+            Avant, 222 N. Lasalle St, Chicago, IL 60601-1003
15386708        *P++          CAPITAL ONE, PO BOX 30285, SALT LAKE CITY UT 84130-0285, address filed with court:, Capital One Bank Usa N, 15000
                              Capital One Dr, Richmond, VA 23238
15386709        *+            Cb Indigo/gf, Po Box 4499, Beaverton, OR 97076-4499
15386710        *+            Ccs/first National Ban, 500 East 60th St North, Sioux Falls, SD 57104-0478
15386712        *+            Clearview Federal Cu, 8805 University Blvd, Coraopolis, PA 15108-4212
15386713        *+            Cleveland Brother, 4565 William Penn Highway, Murrysville, PA 15668-2016
15386714        *+            Comenity Bank/gnteagle, Po Box 182789, Columbus, OH 43218-2789
15386715        *+            Comenitybank/victoria, Po Box 182789, Columbus, OH 43218-2789
15386716        *             Community Bank, Rj Sommers Operations Center, Waynesburg, PA 15370
15386717        *+            Credit Coll/usa, 16 Distributor Dr Ste 1, Morgantown, WV 26501-7209
15386718        *+            Credit Collection Serv, Po Box 607, Norwood, MA 02062-0607
15386719        *+            Credit One Bank Na, Po Box 98875, Las Vegas, NV 89193-8875
15386720        *             Credit Protection Asso, One Galleria Tower, Dallas, TX 75240
15386721        *+            Dept Of Education/neln, Po Box 82561, Lincoln, NE 68501-2561
15386722        *+            Discover Fin Svcs Llc, Pob 15316, Wilmington, DE 19850-5316
15386723        *+            Enhanced Recovery Co L, 8014 Bayberry Rd, Jacksonville, FL 32256-7412
15386724        *+            Eos Cca, Po Box 981008, Boston, MA 02298-1008
15386725        *+            F N B Cons Disc Co, 6291 State Route 30, Greensburg, PA 15601-7597
15386711        *P++          FIRST SAVINGS BANK, PO BOX 5096, SIOUX FALLS SD 57117-5096, address filed with court:, Ccs/first Savings Bank, 500
                              East 60th St North, Sioux Falls, SD 57104
15386726        *+            Fairville, 4 Hillman, Chadds Ford, PA 19317-9781
15386727        *+            First Premier Bank, 3820 N Louise Ave, Sioux Falls, SD 57107-0145
15386728        *+            I.c. System, Inc, Po Box 64378, Saint Paul, MN 55164-0378
15373408        *+            Internal Revenue Service, William S. Moorehead Federal Building, 1000 Liberty Avenue, Room 727, Pittsburgh, PA 15222-4107
15386731        *+            Internal Revenue Service, William S. Moorehead Federal Building, 1000 Liberty Avenue, Room 727, Pittsburgh, PA 15222-4107
15386730        *             Internal Revenue Service, Insolvency Unit, PO Box 628, Pittsburgh, PA 15230
15373406        *+            Internal Revenue Service, Insolvency Unit, PO Box 7346, Philadelphia, PA 19101-7346
15386729        *+            Internal Revenue Service, Insolvency Unit, PO Box 7346, Philadelphia, PA 19101-7346
15386732        *P++          JEFFERSON CAPITAL SYSTEMS LLC, PO BOX 7999, SAINT CLOUD MN 56302-7999, address filed with court:, Jefferson
                              Capital Syst, 16 Mcleland Rd, Saint Cloud, MN 56303
15386733        *P++          JPMORGAN CHASE BANK N A, BANKRUPTCY MAIL INTAKE TEAM, 700 KANSAS LANE FLOOR 01, MONROE LA
                              71203-4774, address filed with court:, Jpmcb Card, Po Box 15369, Wilmington, DE 19850
15386734        *+            Kashable Llc, 275 Madison Ave, New York, NY 10016-1101
15386735        *P++          LENDMARK FINANCIAL SERVICES, 2118 USHER ST, COVINGTON GA 30014-2434, address filed with court:, Lendmark
                              Financial Ser, 2118 Usher St., Covington, GA 30014
15386736        *+            Mariner Finance, 8211 Town Center Dr, Nottingham, MD 21236-5904
15386737        *+            Merrick Bank Corp, Po Box 9201, Old Bethpage, NY 11804-9001
15386738        *+            Moneylion Inc, Po Box 1547, Sandy, UT 84091-1547
15386740        *+            Onemain, Po Box 1010, Evansville, IN 47706-1010
15386741        *+            PA Department Of Revenue, Bankruptcy Division, PO Box 788, Harrisburg, PA 17108-0788
15386742        *             PA Department of Revenue, Bankruptcy Division, PO Box 280946, Harrisburg, PA 17128-0496
15386743        *+            Penn Credit Corporatio, 916 S 14th St, Harrisburg, PA 17104-3425
15386744        *+            Pennymac Loan Services, Po Box 514387, Los Angeles, CA 90051-4387
15386745        *             Plain Green, 93 Mack Road Suite 600, Box Elder, MT 59521
15386746        *+            Plaza Home Mtg/dovenmu, 1 Corporate Dr, Lake Zurich, IL 60047-8944
15386751        *P++          SPRINGLEAF FINANCIAL SERVICES, P O BOX 3251, EVANSVILLE IN 47731-3251, address filed with court:, Springleaf
       Case 21-21145-JAD                       Doc 34 Filed 06/23/21 Entered 06/24/21 00:38:17                                      Desc Imaged
                                                    Certificate of Notice Page 7 of 7
District/off: 0315-2                                                   User: nsha                                                            Page 5 of 5
Date Rcvd: Jun 21, 2021                                                Form ID: 309B                                                       Total Noticed: 74
                                      Financial S, 150 Pittsburgh St Ste 22b, Uniontown, PA 15401
15386748            *+                Santander Consumer Usa, Po Box 961245, Ft Worth, TX 76161-0244
15386749            *+                Sears/cbna, Po Box 6217, Sioux Falls, SD 57117-6217
15386750            *+                Somerset Trust Company, 151 W Main Street, Somerset, PA 15501-2068
15386752            *+                Syncb/amazon, Po Box 965015, Orlando, FL 32896-5015
15386753            *+                Syncb/ppmc, Po Box 965005, Orlando, FL 32896-5005
15386754            *+                Syncb/walmart, Po Box 965024, Orlando, FL 32896-5024
15386755            *+                Tbom/contfin, 4550 New Linden Hill Rd, Wilmington, DE 19808-2930
15386756            *                 Tbom/tfc, Po Box 13306, Virginia Beach, VA 23464
15386757            *                 Thinkcashfbd, Brandywine Commons Ii, Wilmington, DE 19803
15386758            *+                United Auto Credit Co, 3990 Westerley Place, Newport Beach, CA 92660-2310
15386759            *                 Usa Credit, Customer Service, Uniontown, PA 15401
15386760            *+                Webbank/fingerhut, 6250 Ridgewood Road, Saint Cloud, MN 56303-0820
15386761            *+                Westlake Financial Svc, 4751 Wilshire Bvld, Los Angeles, CA 90010-3847
15373419            ##+               Penn Credit Corporatio, 916 S 14th St, Harrisburg, PA 17104-3425

TOTAL: 1 Undeliverable, 59 Duplicate, 1 Out of date forwarding address


                                                       NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 23, 2021                                             Signature:          /s/Joseph Speetjens




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 21, 2021 at the address(es) listed below:
Name                                  Email Address
Charles O. Zebley, Jr.
                                      COZ@Zeblaw.com PA67@ecfcbis.com;Lyndie@Zeblaw.com

Jennifer L. Cerce
                                      on behalf of Creditor Norwin School District jlc@mbm-law.net

Lawrence W. Willis
                                      on behalf of Debtor Gary J. Griser ecf@westernpabankruptcy.com urfreshstrt@gmail.com;willislr88866@notify.bestcase.com

Lawrence W. Willis
                                      on behalf of Joint Debtor Maria F. Griser ecf@westernpabankruptcy.com
                                      urfreshstrt@gmail.com;willislr88866@notify.bestcase.com

Maria Miksich
                                      on behalf of Creditor PENNYMAC LOAN SERVICES LLC mmiksich@kmllawgroup.com

Office of the United States Trustee
                                      ustpregion03.pi.ecf@usdoj.gov

Ronda J. Winnecour
                                      cmecf@chapter13trusteewdpa.com


TOTAL: 7
